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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                   SHREVEPORT DIVISION


 UNITED STATES OF AMERICA,                          ) CIVIL ACTION NO.:
                Plaintiff                           )
                                                    )
 v.                                                 ) JUDGE
                                                    )
 $14,381.00 in U.S. Currency                        )   MAGISTRATE JUDGE
                      Defendant In Rem

                    VERIFIED COMPLAINT FOR FORFEITURE IN REM

        NOW INTO COURT comes the UNITED STATES OF AMERICA (the "Government")

by and through the United States Attorney for the Western District of Louisiana and the

undersigned Assistant United States Attorney, who brings this Complaint for Forfeiture in rem for

the reasons set forth hereafter:

                                    NATURE OF THE ACTION

        1.      This is an in rem civil forfeiture action brought by the United States of America to

forfeit to the United States $14,381 in U.S. Currency seized from a vehicle driven by Paul Williams

at 2205 Hollywood Drive in Shreveport, Louisiana during a federal surveillance             operation

conducted on March 4, 2021. The defendant property consists of or is derived from proceeds

obtained by Williams directly or indirectly as the result of violations of21 U.S.C. §§ 841(a) and

846 and, thus is subject to forfeiture to the United States pursuant to 21 U.S.C. §881(a)(6).

                                   JURISDICTION AND VENUE

       2.      The Court has original jurisdiction over this proceeding pursuant to 28 U.S.C.

§1345 as the United States of America is commencing this action.
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            3.       This Court has in rem jurisdiction and venue over this forfeiture action, pursuant to

28 U.S.C. § 1355(b)(l)(A), as the acts giving rise to the forfeiture occurred in the Western District

of Louisiana.

           4.        Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b)(2), as a

substantial part of the events or omissions giving rise to the Government's claims occurred in the

Western District of Louisiana.

           5.        Venue is also proper before this Court pursuant to 28 U.S.C. § 1395(b), as the

defendant in rem were found and seized in the Western District of Louisiana.

                                         DEFENDANTS        IN REM

           6.       The Defendant in rem of this action consists $14,381 in U.S. Currency (the

"Defendant Property").

           7.       The Defendant Property remains in the custody of Federal Bureau of Investigation

("FBI").

                                                  FACTS

           8.       On March 4, 2021, the Defendant Property was seized from a vehicle driven by

Paul Williams, social security number ending in -6905, ("Williams"), at 2205 Hollywood Drive in

Shreveport, Louisiana during the execution of a federal surveillance operation and a seizure on

March 4, 2021 by the Northwest Louisiana Violent Crimes Task Force (including FBI special

agents).

           9.        During the surveillance operation and seizure on March 4, 2021, federal officers

seized the following evidence from Williams:

                 a) 1157.65 grams of methamphetamine,


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              b) 180.16 grams of marijuana,

              c) two cell phones,

              d) a Taurus G2C, Serial Number: TMT05403,

              e) two magazines (one 12 round and one 30 round),

              f) thirty rounds of 9mm ammunition, and

              g)    u.S. currency (which comprises the Defendant Property in the instant complaint).

        10.        In the weeks leading up to the surveillance and seizure on March 4, 2021, the task

force was investigating Williams for distribution of methamphetamine       in the Shreveport-Bossier

area. During the course of that investigation:

              a) the task force, with the help of a cooperating      individual ("CI), conducted a

                   "controlled purchase" of 84.46 grams of methamphetamine     from Williams out of

                   his vehicle while at the CVS at the intersection of Hearne Avenue and Hollywood

                   Avenue in Shreveport on February 10,2021;

              b) during the February 10,2021 controlled purchase, the CI informed the task force

                   officers that Williams had multiple bricks of methamphetamine   in the vehicle and

                   that the CI can usually purchase about ~ a pound of methamphetamine    a day from

                   Williams;

              c) on February 12, 2021, the task force and the CI conducted another controlled

                   purchase of methamphetamine from Williams out ofa residence located at 208 East

                   Rutherford Street, where the Cl's communications with Williams verified he was

                   present;




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              d) during the February 12, 2021 controlled purchase, Williams sold 118.16 grams of

                 methamphetamine to the CI and told the CI that he wanted to see the source grow

                 into a large scale provider;

              e) on March 4, 2021, the task force was conducting         continued surveillance   of

                 Williams in furtherance of this investigation and ultimately searched his vehicle

                 where the Defendant Property and other items listed above were seized from a 2003

                 Gray Chevrolet Suburban (VIN: 3GNEC16Z63G305082)          driven by Williams.

        11.      After seizing the Defendant Property from Williams' vehicle on March 4, 2021, the

FBI began an administrative forfeiture of the Defendant Property by on April 22, 2021 by sending

direct Notice of the forfeiture to Williams at his last known address of 521 Yarborough Street in

Bossier City. However, the FBI was unable to confirm that notice of the administrative forfeiture

was received by Williams.

        12.      The FBI also published notice of the administrative forfeiture of the Defendant

Property via the internet, April 30, 2021 through May 29, 2021.

        13.      On November 5,2021       and December 21,2021,   the FBI again attempted to send

direct notice to Williams at 521 Yarborough Street in Bossier City but was unable to confirm

receipt either time.

        14.      On December 21,2021,      the FBI also sent notice to Williams at two other known

addresses: 3070 E. Texas Street, Unit 210 in Bossier City and 126 Wallace Lake Road in Frierson

but was unable to confirm receipt at either address.




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        15.     On July 31, 2023, the FBI attempted to send direct notice to Williams at two

additional addresses: 416 W. Mary Lee Street in Plain Dealing and 208 E. Rutherford Street in

Shreveport but was again unable to confirm receipt at either address.

        16.      Finally, the FBI was able to successfully send direct notice of the administrative

forfeiture to Williams on February 15, 2024 at Federal Correctional Institute in Pollock, Louisiana

where Williams is currently incarcerated as Inmate #96629-509.

        17.     On March 11, 2024, Williams filed a claim for the Defendant Property in the

administrative forfeiture proceeding initiated by the FBI.

        18.     The Defendant Property remains in the custody of the Government.

                         VIOLATION OF 21 U.S.C. § 841(a)(1) and 846

        19.     Pursuant to 21 U.S.C. § 841(a)(l)       it is unlawful for any person knowing or

intentionally to manufacture, distribute, or dispense, or possess with intent to manufacture,

distribute, or dispense, a controlled substance or to create, distribute, or dispense, or possess with

intent to distribute or dispense, a counterfeit substance.

        20.    Pursuant to 21 U.S.C. § 846, any person who attempts or conspires to commit any

offense defined in [Title 21, Chapter 13, Subchapter I] shall be subject to the same penalties as

those prescribed for the offense, the commission of which was the object of the attempt or

conspiracy.

                                      CLAIM FOR RELIEF

       21.     Based upon the foregoing facts and the applicable law, the Defendant Property is

forfeitable to the United States pursuant to 21 U.S.C. §881(1)(6) as: "[a]ll moneys, negotiable

instruments, securities, or other things of value furnished or intended to be furnished by any person


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in exchange for a controlled substance or listed chemical in violation of this subchapter [Title 21,

Chapter 13, Subchapter I], all proceeds traceable to such an exchange, and all moneys, negotiable

instruments,    and securities used or intended to be used to facilitate any violation of this

subchapter" .

         22.     This action is required to be brought in the United States District Court pursuant to

18 U.S.C. § 983(a)(3) because Williams filed a claim of ownership in the administrative forfeiture

proceeding and the forfeiture must now be adjudicated.

                                  CONCLUSION AND RELIEF

         Plaintiff, the United States of America, requests that a warrant be issued for the arrest and

continued seizure of the Defendant Property; that due notice be given to all interested persons to

appear and show cause why the forfeiture should not be decreed; that judgment              be entered

declaring the Defendant Property be condemned and forfeited to the United States for disposition

according to law; and that the United States be granted such other further relief as this Court may

deem just and proper, together with the costs and disbursements of this action.


Dated:   June 10,2024

                                                       Respectfully submitted,

                                                       BRANDON B. BROWN
                                                       United States Attorney


                                                      s/ Shannon T Brown
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                                        VERIFICATION

       I, Katlyn Stinson, state that I am a Special Agent of the Federal Bureau of Investigation

("FBI") in Shreveport, Louisiana. I have read the foregoing Complaint for Forfeiture and declare

under penalty of perjury that the facts contained therein are true and correct based upon knowledge

possessed by me or upon information received from other law enforcement agents.




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Dated: June 10,2024




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